          Case: 22-2830          Document: 9          Filed: 01/23/2023       Pages: 2



                      United States Court of Appeals
                                    For the Seventh Circuit
                                      Chicago, IL 60604

                                        January 23, 2023


NORBERTO TORRES,                                ] Appeal from the United
            Plaintiff-Appellant,                ] States District Court for
                                                ] the Southern District of
No. 22-2830                 v.                  ] Illinois.
                                                ]
KENT BROOKMAN, and JASON HART,                  ] No. 3:19-cv-00248-SPM
           Defendants-Appellees.                ]
                                                ] Stephen P. McGlynn,
                                                ] Judge.


                             NOTICE OF RULE 33 MEDIATION

       Pursuant to Rule 33 of the Federal Rules of Appellate Procedure and Circuit Rule 33, a
telephonic mediation has been scheduled in this appeal.

              Date: Friday, February 24, 2023

              Time: 9:30 a.m. (Central Time)
              Rule 33 mediations vary in length and often exceed two hours. Participants should
              schedule no other activities for the remainder of the morning.

              Circuit Mediator: Rocco J. Spagna
                                Rocco_spagna@ca7.uscourts.gov
                                312-582-7385

              Contact Instructions and Requirements:
              The Circuit Mediation Office will initiate the call to counsel and the parties.
              Two business days before the scheduled mediation date, counsel must provide by
              email to the designated Circuit Mediator the names and telephone numbers of
              counsel and clients who will participate in the mediation.

       Representation by Lead Counsel: Each party must be represented in the mediation by
       the lawyer or lawyers on whose judgment the party will primarily rely in making
       settlement decisions.

       Client Participation: Clients are not required to participate in this initial mediation
       session, but they are welcome to do so. In the event your client does not participate, he
   Case: 22-2830        Document: 9            Filed: 01/23/2023       Pages: 2




or she is required to be available by telephone for the duration of the mediation session.
(In the case of a corporation, association or public body, “client” means an officer or
employee having the fullest possible settlement discretion.) Counsel and clients
participating in the teleconference from separate locations will be able to confer
privately between themselves, and with the mediator, during the mediation.

Insurance Carrier Participation: If a party is, or contends that it is, insured for any of
the claims at issue, an authorized representative of the insurer must also be available by
telephone for the duration of the mediation session.

Rescheduling Not Permitted Without Good Cause: The mediation is expected to take
place at the scheduled date and time. It will not be rescheduled unless an indispensable
participant has an immovable preexisting commitment of such importance that his or her
attendance is impossible. You must notify the Mediation Office of such a conflict
immediately. The mediation will not be rescheduled on short notice.

Preparation for Mediation: At the mediation, be prepared to discuss the case in depth –
your client’s goals and interests, the pivotal legal issues, the evidence of record, and the
damages or other relief being sought. In advance of the mediation, you are expected to
provide your client with a copy of this notice, familiarize yourself and your client with
mediation procedures, help your client realistically assess his or her interests and the
prospects of the case on appeal, obtain as much settlement authority as feasible, and
approach the mediation process with an open mind.

Confidentiality: To encourage full and frank discussion, all communications during this
mediation, and all further communications, oral and written, during the course of Rule 33
proceedings, are strictly confidential. The content of Rule 33 communications may not
be disclosed to anyone other than the litigants and their counsel. Nothing said by the
participants, including the mediator, will be placed in the record or disclosed by this
office to the Court.

Briefing Schedule: To enable counsel to devote their full attention to discussions of
settlement, the briefing schedule will be extended. An order setting forth the new
briefing schedule will be posted to the docket.

Other Court Filing Requirements: The scheduling of a Rule 33 mediation does not
relieve the parties of their obligation to comply in a timely manner with all other court
filing requirements.

Questions and Communications regarding Mediation Notice: Counsel may direct
questions concerning this notice to Stephanie Cummings, Mediation Coordinator, at
(312) 582-7384 or at stephanie_jackson@ca7.uscourts.gov.
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